        Case 23-21402-SLM                    Doc 26        Filed 12/12/23 Entered 12/12/23 16:18:18                             Desc Main
                                                          Document      Page 1 of 40




Fill in this information to identify the case:

Debtor name         IQ Dental Supply, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)     23-21402 (SLM)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule       E/F
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       December 12, 2023               X /s/ Sergey Kunin
                                                           Signature of individual signing on behalf of debtor

                                                            Sergey Kunin
                                                            Printed name

                                                            Managing Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
           Case 23-21402-SLM                                     Doc 26              Filed 12/12/23 Entered 12/12/23 16:18:18                                                            Desc Main
                                                                                    Document      Page 2 of 40
 Fill in this information to identify the case:

 Debtor name            IQ Dental Supply, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)               23-21402 (SLM)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $      10,092,591.88

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      10,092,591.88


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       3,385,345.70


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       4,712,912.24


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          8,098,257.94




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
          Case 23-21402-SLM                         Doc 26      Filed 12/12/23 Entered 12/12/23 16:18:18                                       Desc Main
                                                               Document      Page 3 of 40
Fill in this information to identify the case:

Debtor name        IQ Dental Supply, LLC

United States Bankruptcy Court for the:         DISTRICT OF NEW JERSEY

Case number (if known)          23-21402 (SLM)
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00     $0.00
          Division of Taxation                                Check all that apply.
          124 Halsey Street                                    Contingent
          2nd Floor                                            Unliquidated
          Newark, NJ 07102
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              For Noticing Purposes Only
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00     $0.00
          Internal Revenue Service                            Check all that apply.
          Special Procedures Branch                            Contingent
          PO Box 744                                           Unliquidated
          Springfield, NJ 07081-0744
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              For Noticing Purposes Only
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 38
                                                                                                              56352
          Case 23-21402-SLM                        Doc 26     Filed 12/12/23 Entered 12/12/23 16:18:18                                 Desc Main
                                                             Document      Page 4 of 40
Debtor      IQ Dental Supply, LLC                                                                    Case number (if known)   23-21402 (SLM)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         Internal Revenue Service                           Check all that apply.
         Attn: District Director                             Contingent
         955 S. Springfield Avenue                           Unliquidated
         Springfield, NJ 07081
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         Internal Revenue Service                           Check all that apply.
         Office of the Chief Counsel                         Contingent
         1 Newark Center, Suite 1500                         Unliquidated
         Newark, NJ 07102
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         Internal Revenue Service                           Check all that apply.
         PO Box 7346                                         Contingent
         Philadelphia, PA 19101-7346                         Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         New Jersey Division of Taxation                    Check all that apply.
         Bankruptcy Section                                  Contingent
         PO Box 245                                          Unliquidated
         Trenton, NJ 08695-0245
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 2 of 38
          Case 23-21402-SLM                        Doc 26     Filed 12/12/23 Entered 12/12/23 16:18:18                                 Desc Main
                                                             Document      Page 5 of 40
Debtor      IQ Dental Supply, LLC                                                                    Case number (if known)   23-21402 (SLM)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         NYC Dept. of Finance                               Check all that apply.
         Office of Legal Affairs                             Contingent
         375 Pearl Street, 30th Floor                        Unliquidated
         New York, NY 10038
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         NYS Dept of Taxation & Finance                     Check all that apply.
         Transaction Field Audit Bureau                      Contingent
         Mid-Hudson Regional Office                          Unliquidated
         44 South Broadway, 6th Floor
         White Plains, NY 10601-4425                         Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number 2928               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         NYS Dept. Taxation & Finance                       Check all that apply.
         Bankruptcy/Special Procedures                       Contingent
         Section                                             Unliquidated
         P.O. Box 5300
         Albany, NY 12205-0300                               Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         Office of the Attorney General                     Check all that apply.
         Division of Law                                     Contingent
         PO Box 080                                          Unliquidated
         Trenton, NJ 08625-0080
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 3 of 38
          Case 23-21402-SLM                        Doc 26     Filed 12/12/23 Entered 12/12/23 16:18:18                                 Desc Main
                                                             Document      Page 6 of 40
Debtor      IQ Dental Supply, LLC                                                                    Case number (if known)   23-21402 (SLM)
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         State of New Jersey                                Check all that apply.
         Division of Taxation                                Contingent
         Sales & Use Tax                                     Unliquidated
         PO Box 999
         Trenton, NJ 08625                                   Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         State of New Jersey                                Check all that apply.
         Division of Taxation - GIT                          Contingent
         50 Barrack Street                                   Unliquidated
         PO Box 269
         Trenton, NJ 08625                                   Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         State of New Jersey                                Check all that apply.
         Department of Labor                                 Contingent
         Divison of Employer Accounts                        Unliquidated
         PO Box 379
         Trenton, NJ 08625-0059                              Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         Texas Comptroller of Public                        Check all that apply.
         Accounts                                            Contingent
         Revenue Accounting Division -                       Unliquidated
         Bankruptcy
         P.O. Box 13528 Capitol Station                      Disputed
         Austin, TX 78711
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 4 of 38
           Case 23-21402-SLM                         Doc 26       Filed 12/12/23 Entered 12/12/23 16:18:18                                          Desc Main
                                                                 Document      Page 7 of 40
Debtor        IQ Dental Supply, LLC                                                                      Case number (if known)          23-21402 (SLM)
              Name

2.15       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
           United States Attorney                               Check all that apply.
           970 Broad Street                                      Contingent
           5th Floor                                             Unliquidated
           Newark, NJ 07102
                                                                 Disputed
           Date or dates debt was incurred                      Basis for the claim:
                                                                For Noticing Purposes Only
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.            $332,159.67
          3M Oral Care                                                         Contingent
          PO Box 371227                                                        Unliquidated
          Pittsburgh, PA 15250-7227                                            Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $2,881.69
          A-Titan Instruments                                                  Contingent
          10 Centre Dr.                                                        Unliquidated
          Hamburg, NY 14127                                                    Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              $17,062.90
          Accutron Inc.                                                        Contingent
          P.O.Box 74007016                                                     Unliquidated
          Chicago, IL 60674-7016                                               Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                  $887.28
          ACE Surgical Supply                                                  Contingent
          1034 Pearl Street                                                    Unliquidated
          PO Box 1710                                                          Disputed
          Brockton, MA 02303
                                                                              Basis for the claim: Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                     Is the claim subject to offset?    No  Yes
3.5       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              $11,922.12
          Acteon, Inc                                                          Contingent
          124 Gaither Drive Suite 140                                          Unliquidated
          Mount Laurel, NJ 08054                                               Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document      Page 8 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         AFP Imaging
         ImageWorks                                                 Contingent
         8 Westchester Plaza                                        Unliquidated
         Suite 112                                                  Disputed
         Elmsford, NY 10523
                                                                   Basis for the claim: For Noticing Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $324,039.62
         Aidite (Qinhuangdoa) Technology Co.
         Advanced Dental Materials                                  Contingent
         600 Technology Park                                        Unliquidated
         Suite 108                                                  Disputed
         Lake Mary, FL 32746
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $121,533.97
         Air Techniques Products                                    Contingent
         1295 Walt Whitman Road                                     Unliquidated
         Melville, NY 11747                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $58,890.00
         Align Technology/ iTero                                    Contingent
         PO Box 742531                                              Unliquidated
         Los Angeles, CA 90074-2531                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $327.50
         Aluwax Dental Product                                      Contingent
         P.O. Box 87                                                Unliquidated
         Allendale, MI 49401                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,753.23
         American Eagle Instruments, Inc                            Contingent
         6575 Butler Creek Rd.                                      Unliquidated
         Missoula, MT 59808                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,774.34
         American Express                                           Contingent
         PO Box 1270                                                Unliquidated
         Newark, NJ 07101-1270                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 4001
                                                                   Is the claim subject to offset?    No  Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 6 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document      Page 9 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $128,000.00
         American Express                                           Contingent
         PO Box 1270                                                Unliquidated
         Newark, NJ 07101-1270                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 1018
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $34,530.00
         American Express                                           Contingent
         PO Box 1270                                                Unliquidated
         Newark, NJ 07101-1270                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 2000
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $513,938.28
         American Express                                           Contingent
         PO Box 1270                                                Unliquidated
         Newark, NJ 07101-1270                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 3008
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $600.30
         Ansell Healthcare Products LLC                             Contingent
         Dept CH 17373                                              Unliquidated
         Palatine, IL 60055-7373                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $880.06
         Arnel Inc                                                  Contingent
         73 High Street                                             Unliquidated
         Hempstead, NY 11550                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $387.40
         Aseptico                                                   Contingent
         8333 216th Street SE                                       Unliquidated
         Woodinville, WA 98072-1548                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $34,952.95
         Bank of America                                            Contingent
         3558 James Ave N                                           Unliquidated
         Minneapolis, MN 55412-2438                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 6196
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 7 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 10 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,906.68
         Bank of America                                            Contingent
         3558 James Ave N                                           Unliquidated
         Minneapolis, MN 55412-2438                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 8784
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,869.97
         Bank of America                                            Contingent
         3558 James Ave N                                           Unliquidated
         Minneapolis, MN 55412-2438                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 7078
                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $41,288.46
         Bank of America                                            Contingent
         3558 James Ave N                                           Unliquidated
         Minneapolis, MN 55412-2438                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 0841
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,228.75
         Bausch                                                     Contingent
         12 Murphy Drive, Unit 4                                    Unliquidated
         Nashua, NH 03062                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $473.13
         Beavers / Kerr                                             Contingent
         Fifth Third Bank                                           Unliquidated
         5050 Kingsley Drive                                        Disputed
         Cincinnati, OH 45227
                                                                   Basis for the claim: Credit card purchases
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,267.45
         Beaverstate Dental, Inc                                    Contingent
         115 South Elliott Rd                                       Unliquidated
         Newberg, OR 97132                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,261.07
         Bien Air                                                   Contingent
         8861 Research Drive                                        Unliquidated
         Irvine, CA 92618                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 8 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 11 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $820.00
         Biotec, Inc                                                Contingent
         652 E. Main Ave.                                           Unliquidated
         Zeeland, MI 49464-1399                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $474.00
         Blazer Products, Inc                                       Contingent
         88-90 Allen Blvd                                           Unliquidated
         Farmingdale, NY 11735                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         BonArt                                                     Contingent
         550 Yorbita Rd
         La Puente, CA 91744
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Brandt Equipment                                           Contingent
         4461 Bronx Blvd.
         Bronx, NY 10470-1496
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $192.09
         Bravo! Building Services, Inc.                             Contingent
         1260 Centennial Avenue                                     Unliquidated
         Piscataway, NJ 08854                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $776.00
         Brewer                                                     Contingent
         N88 W 13901 Main Street                                    Unliquidated
         Suite 100                                                  Disputed
         Menomonee Falls, WI 53051
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,304.97
         Buffalo Dental Manufacture Co                              Contingent
         159 Lafayette Dr.                                          Unliquidated
         P.O. Box 678                                               Disputed
         Syosset, NY 11791-0678
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 9 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 12 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $446.50
         Bulbworks, Inc                                             Contingent
         P.O. Box 586                                               Unliquidated
         Succasunna, NJ 07876                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $960.99
         CAO Group                                                  Contingent
         4628 W Skyhawk Drive                                       Unliquidated
         West Jordan, UT 84084                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $70,220.33
         Capital One                                                Contingent
         PO Box 71083                                               Unliquidated
         Charlotte, NC 28272-1083                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 5282
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $224.00
         Cefla North America, Inc                                   Contingent
         6125 Harris Technology Blvd                                Unliquidated
         Charlotte, NC 28269                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,641.32
         Centrix                                                    Contingent
         P.O. Box 527                                               Unliquidated
         Stratford, CT 06615-0527                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $210.00
         Chapman-Huffman                                            Contingent
         320 S.E. Brideford Blvd                                    Unliquidated
         Bend, OR 97702                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,982.47
         Chase                                                      Contingent
         PO Box 6294                                                Unliquidated
         Carol Stream, IL 60197-6294                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 9632
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 10 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 13 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $33,833.18
         CitiCard                                                   Contingent
         PO Box 70166                                               Unliquidated
         Philadelphia, PA 19176-0166                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 7631
                                                                   Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,353.50
         Clik Tech, Inc                                             Contingent
         12281 N. 120th Street                                      Unliquidated
         Scottsdale, AZ 85259                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $28,466.54
         Coltène/Whaledent Inc.                                     Contingent
         Department 781842                                          Unliquidated
         PO Box 78000                                               Disputed
         Detroit, MI 48278-1842
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,047.50
         CONAMCO S.A. de C.V.                                       Contingent
         Medental Intl                                              Unliquidated
         3008 Palm Hill Dr                                          Disputed
         Vista, CA 92084
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,623.20
         Consolidated Paper Group, Inc                              Contingent
         P.O Box 51866                                              Unliquidated
         Bowling Green, KY 42104                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,797.38
         Crosstex International                                     Contingent
         PO Box 74008664                                            Unliquidated
         Chicago, IL 60674-8664                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $257,266.77
         Crown Delta Corporation                                    Contingent
         1520 Front Street                                          Unliquidated
         Yorktown Heights, NY 10598                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 11 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 14 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,697.50
         Crown Seating                                              Contingent
         7300 South Tucson Way                                      Unliquidated
         Centennial, CO 80112                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $64.53
         Curtis Marsh                                               Contingent
         9 Beechwood Rd                                             Unliquidated
         West Caldwell, NJ 07006                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $109.60
         Cuting Edge Instrument, Inc                                Contingent
         P.O. Box 715602                                            Unliquidated
         Columbus, OH 43271-5602                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,111.49
         Danville Materials                                         Contingent
         2875 Loker Avenue E                                        Unliquidated
         Carlsbad, CA 92010                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $129.60
         Darby Dental Supply LLC                                    Contingent
         PO Box 26582                                               Unliquidated
         New York, NY 10087-6582                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,336.21
         DCI Fulfilment Solutions                                   Contingent
         361 E Water St                                             Unliquidated
         Gettysburg, PA 17325                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,602.84
         DCI International
         Dental Components LLC                                      Contingent
         Mail Stop 76                                               Unliquidated
         PO Box 4300                                                Disputed
         Portland, OR 97208
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 12 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 15 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,011.87
         Dedeco International, Inc.                                 Contingent
         11617 State Route 97                                       Unliquidated
         Long Eddy, NY 12760-0244                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Deepak / Keystone                                          Contingent
         480 S Democrat Road
         Gibbstown, NJ 08027
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         DeLar                                                      Contingent
         P.O. Box 226
         Lake Oswego, OR 97034
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $739.22
         DenMat                                                     Contingent
         1017 W Central Ave                                         Unliquidated
         Lompoc, CA 93436                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Dental Chair Adaptors                                      Contingent
         PO Box 818
         Big Bear City, CA 92314
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,170.00
         Dental Connections                                         Contingent
         114 41st Street                                            Unliquidated
         Brooklyn, NY 11232-3320                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $291.00
         DentalEZ / Custom Air                                      Contingent
         301 Lindenwood Drive                                       Unliquidated
         Suite 100                                                  Disputed
         Malvern, PA 19355
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 13 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 16 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $16,918.18
         DentalEZ / Ramvac                                          Contingent
         301 Lindenwood Drive, Suite 100                            Unliquidated
         Malvern, PA 19355                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,728.00
         DentalEZ / Star Dental                                     Contingent
         301 Lindenwood Drive                                       Unliquidated
         Suite 100                                                  Disputed
         Malvern, PA 19355
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $286.00
         Dentamerica Inc                                            Contingent
         18688 E. San Jose Avenue                                   Unliquidated
         City of Industry, CA 91748                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $156.00
         Denti Smart                                                Contingent
         1810 Industrial Park Drive                                 Unliquidated
         Suite A                                                    Disputed
         Grand Haven, MI 49417
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $708.00
         Dentonics,Inc                                              Contingent
         2833 Tophill Road                                          Unliquidated
         Monroe, NC 28110                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $124,935.80
         Dentsply Caulk
         Dentsply International Inc.                                Contingent
         Dept. DNA                                                  Unliquidated
         P.O.Box 822462                                             Disputed
         Philadelphia, PA 19182-2462
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $24,780.70
         Dentsply Maillefer
         Dentsply Maillefer                                         Contingent
         Dept. TUL                                                  Unliquidated
         P.O.Box 822462                                             Disputed
         Philadelphia, PA 19182-2462
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 14 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 17 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $137.64
         Dentsply Midwest
         Dentsply International Inc.                                Contingent
         Dept. DNA                                                  Unliquidated
         P.O.Box 822462                                             Disputed
         Philadelphia, PA 19182-2462
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $15,126.68
         Dentsply Pharmaceutical
         Dentsply International Inc.                                Contingent
         Dept. DNA                                                  Unliquidated
         P.O.Box 822462                                             Disputed
         Philadelphia, PA 19182-2462
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $111,357.82
         Dentsply Professional
         Dentsply International Inc.                                Contingent
         Dept. DNA                                                  Unliquidated
         P.O.Box 822462                                             Disputed
         Philadelphia, PA 19182-2462
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,282.47
         Dentsply Rinn
         Dentsply International Inc.                                Contingent
         Dept. DNA                                                  Unliquidated
         P.O.Box 822462                                             Disputed
         Philadelphia, PA 19182-2462
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,062.82
         Dexis LLC                                                  Contingent
         450 Commerce Drive                                         Unliquidated
         Quakertown, PA 18951                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,737.50
         Dharma Research                                            Contingent
         5220 NW 72nd Avenue                                        Unliquidated
         Bay #15                                                    Disputed
         Miami, FL 33166
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $899.80
         Diadent Group International Inc                            Contingent
         11-3871 North Fraser Way                                   Unliquidated
         Burnany BC V5J5G6                                          Disputed
         CANADA
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 15 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 18 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name


3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $635.25
         Directa, Inc (ContacEZ)                                    Contingent
         PO Box 9004                                                Unliquidated
         Edgewood, NY 11717                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $30,921.15
         Discover Bank                                              Contingent
         PO Box 70176                                               Unliquidated
         Philadelphia, PA 19176-0176                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 6555
                                                                   Is the claim subject to offset?    No  Yes
3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,837.55
         DMG America LLC                                            Contingent
         65 Challenger Road                                         Unliquidated
         Suite 340                                                  Disputed
         Ridgefield Park, NJ 07660
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $537.00
         Dri-Angle/ Dental Health Products                          Contingent
         4600 Witmer Industrial Estates Road                        Unliquidated
         Suite 8                                                    Disputed
         Niagara Falls, NY 14305
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,037.10
         E. C. Moore Company, Inc                                   Contingent
         13325 Leonard St                                           Unliquidated
         PO Box 353                                                 Disputed
         Dearborn, MI 48121
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $52,400.00
         EcoGuard,Inc                                               Contingent
         700 S Battleground Ave                                     Unliquidated
         #103                                                       Disputed
         Grover, NC 28073
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,600.00
         Emerson Healthcare                                         Contingent
         PO Box 37835                                               Unliquidated
         Baltimore, MD 21297-7835                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 16 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 19 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Enbio Corp                                                 Contingent
         3535 Gravel Springs Rd
         Suite 205
                                                                    Unliquidated
         Buford, GA 30519                                           Disputed
         Date(s) debt was incurred                                 Basis for the claim: For Noticing Purposes Only
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $135.00
         Engle Dental Systems, LLC                                  Contingent
         7205 NW Evergreen PKWY                                     Unliquidated
         Suite 100                                                  Disputed
         Hillsboro, OR 97124
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,271.16
         Essential Dental Systems, Inc                              Contingent
         89 Leuning Street                                          Unliquidated
         South Hackensack, NJ 07606                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,413.18
         FedEx                                                      Contingent
         P.O. Box 371461                                            Unliquidated
         Pittsburgh, PA 15250-7461                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $197.50
         Flight Dental Systems                                      Contingent
         21 Kenview Blvd #9                                         Unliquidated
         Brampton, ON T6T 5G7                                       Disputed
         CANADA
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,098.40
         FlossAid Corporation                                       Contingent
         PO Box 624                                                 Unliquidated
         Santa Clara, CA 95052                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $579.42
         Flow X-Ray Corporation                                     Contingent
         Flow Dental Corporation                                    Unliquidated
         133 Wolf Road                                              Disputed
         Battleboro, NC 27809
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 17 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 20 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,099.20
         Focus Global
         1057 Steeles Ave West                                      Contingent
         Suite 81691                                                Unliquidated
         North York ON M2R 2S0                                      Disputed
         CANADA
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $108,093.30
         Forest Dental                                              Contingent
         301 Lindenwood Drive                                       Unliquidated
         Suite 100                                                  Disputed
         Malvern, PA 19355
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $164.78
         G&H Orthodontics                                           Contingent
         G & H Wire Company                                         Unliquidated
         2165 Earlywood Drive                                       Disputed
         Franklin, IN 46131
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $164,678.23
         GC America Inc.                                            Contingent
         3737 W. 127th St                                           Unliquidated
         Alsip, IL 60803                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $234.78
         George Taub Products                                       Contingent
         277 New York Ave                                           Unliquidated
         Jersey City, NJ 07307                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,311.10
         Gill Mechanical Company                                    Contingent
         PO Box 24628                                               Unliquidated
         Eugene, OR 97402                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,311.10
         Gingi-Pak                                                  Contingent
         4825 Calle Alto                                            Unliquidated
         Camarillo, CA 93012                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 18 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 21 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,035.00
         Great Plains Dental Product, Inc                           Contingent
         111 East A Avenue                                          Unliquidated
         P.O.Box 515                                                Disputed
         Kingman, KS 67068
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,001.02
         Hager Worldwide                                            Contingent
         441 19th Street SE                                         Unliquidated
         Hickory, NC 28602                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $165.99
         Headsets com                                               Contingent
         211 Austin St                                              Unliquidated
         San Francisco, CA 94109                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,452.69
         Heartsmart.com / Phillips                                  Contingent
         P.O.Box 1301                                               Unliquidated
         New Milford, CT 06776                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $61.00
         Hexa Dental                                                Contingent
         5211 E. Washington Blvd                                    Unliquidated
         Ste#2-201                                                  Disputed
         Commerce, CA 90040
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $851.87
         Holmes Dental Company                                      Contingent
         50 S. Penn Street                                          Unliquidated
         Hatboro, PA 19040                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,610.00
         Hooker Sale Co. Inc.                                       Contingent
         PO Box 491333                                              Unliquidated
         Leesburg, FL 34749-1333                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 19 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 22 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,736.63
         HPTC, Inc                                                  Contingent
         20793 Farmington Road                                      Unliquidated
         Farmington, MI 48336                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $46,070.87
         Hu-Friedy                                                  Contingent
         29254 Network Place                                        Unliquidated
         Chicago, IL 60673-1292                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $227.68
         IC Care                                                    Contingent
         2652 McGaw Ave                                             Unliquidated
         Irvine, CA 92614                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,772.65
         IDS                                                        Contingent
         920 W. 84th Street                                         Unliquidated
         Hialeah, FL 33014                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,459.94
         Integra LifeSciences Sales LLC.                            Contingent
         P.O.Box 404129                                             Unliquidated
         Atlanta, GA 30384-4129                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,370.00
         Isolate Systems                                            Contingent
         I 2 Air Fluid Innovations, Inc.                            Unliquidated
         14 Valleywood Dr                                           Disputed
         Huntington Station, NY 11746
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,554.24
         Ivoclar Vivadent                                           Contingent
         175 Pineview Drive                                         Unliquidated
         Amherst, NY 14228                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 20 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 23 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $26,599.90
         J&J Instruments, LLC                                       Contingent
         1666 East Touhy Avenue                                     Unliquidated
         Des Plaines, IL 60018                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,373.90
         Jarahi International                                       Contingent
         P.O.Box 645                                                Unliquidated
         Lake Hopatcong, NJ 07849                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $880.00
         Jay H Katz                                                 Contingent
         450 Seventh Ave, Suite 1308                                Unliquidated
         New York, NY 10123                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jazz Imaging                                               Contingent
         770 Charcot Ave
         Suite 100
                                                                    Unliquidated
         San Jose, CA 95131                                         Disputed
         Date(s) debt was incurred                                 Basis for the claim: For Noticing Purposes Only
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $878.13
         Johnson-Promident                                          Contingent
         PO Box 734047                                              Unliquidated
         Chicago, IL 60673-1257                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $964.80
         JR Rand Corporation                                        Contingent
         300 Buffalo Ave                                            Unliquidated
         Freeport, NY 11520                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,282.55
         KaVo Dental                                                Contingent
         11727 Fruehauf Drive                                       Unliquidated
         Charlotte, NC 28273                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 21 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 24 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $42,811.08
         Kerr                                                       Contingent
         Kerr Corporation (Lockbox 14338)                           Unliquidated
         540 W.Madison,4th Floor                                    Disputed
         Chicago, IL 60661
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,817.75
         Keystone Industries                                        Contingent
         480 S. Democrat Road                                       Unliquidated
         Gibbstown, NJ 08027                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Kinetic Instruments Inc                                    Contingent
         17 Berkshire Boulevard
         Bethel, CT 06801
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $26,615.35
         Kulzer, LLC                                                Contingent
         24646 Network Place                                        Unliquidated
         Chicago, IL 60673-1246                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $38,108.85
         Kuraray America, Inc.                                      Contingent
         PO Box 123122                                              Unliquidated
         Dallas, TX 75312-3122                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,532.90
         L&R Manufacturing                                          Contingent
         577 Elm Street                                             Unliquidated
         P.O Box 607                                                Disputed
         Kearny, NJ 07032-0607
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,215.37
         L.L.Bean Inc.                                              Contingent
         Financial Accounting Services                              Unliquidated
         PO Box 1847                                                Disputed
         Albany, NY 12201-1847
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 22 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 25 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Larissa Kunin
         Starr, Gern, Davison & Rubin PC                            Contingent
         Attn: Bruce Pitman & Alona Magidova                        Unliquidated
         105 Eisenhower Parkway, Suite 401                          Disputed
         Roseland, NJ 07068
                                                                   Basis for the claim: For Noticing Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $23,903.79
         Lexus Financial Services                                   Contingent
         PO Box 659820                                              Unliquidated
         San Antonio, TX 78265-9120                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 0549
                                                                   Is the claim subject to offset?    No  Yes
3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,700.40
         LG H&H USA, INC.                                           Contingent
         PO Box 894495                                              Unliquidated
         Los Angeles, CA 90189-4495                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $108.00
         LumaLite, Inc.                                             Contingent
         2830 Via Orange Way                                        Unliquidated
         Suite B                                                    Disputed
         Purchase, NY 10577
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $32,905.66
         Luxury Card                                                Contingent
         PO Boz 13337                                               Unliquidated
         Philadelphia, PA 19101-3337                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 6236
                                                                   Is the claim subject to offset?    No  Yes
3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $677.00
         Madison Pension Services                                   Contingent
         Concierge Retirement Services Inc.                         Unliquidated
         2500 Westchester Avenue, Suite 106                         Disputed
         Purchase, NY 10577
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,000.00
         Mainline Medical Dental Supplies                           Contingent
         100-102 Rossdean Drive                                     Unliquidated
         New York ON M9L 2S1                                        Disputed
         CANADA
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 23 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 26 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Matthew E. Frisch, Esq.                                    Contingent
         Pashman Stein Walder Hayden PC
         Court Plaza South, 21 Main St #200
                                                                    Unliquidated
         Plainfield, NJ 07061                                       Disputed
         Date(s) debt was incurred                                 Basis for the claim: For Noticing Purposes Only
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $162.68
         Maximum Dental                                             Contingent
         9 Branwood Drive                                           Unliquidated
         Dix Hills, NY 11746                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $27,000.00
         MCC Modular &Custom Cabinets
         10721 Keele Street N                                       Contingent
         PO Box 580                                                 Unliquidated
         Maple ON L6A 1S5                                           Disputed
         CANADA
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,887.40
         Medicom
         AMD Medicom Inc.                                           Contingent
         6054 Shook Road                                            Unliquidated
         Suite 200                                                  Disputed
         Lockbourne, OH 43137
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Medtexx
         Semperit Investments Asia Pte Ltd (SIA)                    Contingent
         8 Jurong Town Hall Road                                    Unliquidated
         #12-05/06 JTC Summit 609434                                Disputed
         SINGAPORE
                                                                   Basis for the claim: For Noticing Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $971.75
         Meisinger                                                  Contingent
         10150 E. Easter Ave                                        Unliquidated
         Centennial, CO 80112                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $33,945.88
         Metrex                                                     Contingent
         Metrex Research LLC (Lockbox 14340)                        Unliquidated
         540 W.Madison,4th Floor                                    Disputed
         Chicago, IL 60661
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 24 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 27 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Microbrush International                                   Contingent
         25788 Network Place
         Chicago, IL 60673-1257
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,121.90
         Microcopy                                                  Contingent
         3120 Moon Station Rd                                       Unliquidated
         Kennesaw, GA 30144-2765                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Microtech                                                  Contingent
         3030 S. Fairview St, Suite A
         Santa Ana, CA 92704
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $80,679.21
         Midmark                                                    Contingent
         60 Vista Drive                                             Unliquidated
         Versailles, OH 45380                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $413.60
         Mizzy / Keystone                                           Contingent
         480 S Democrat Road                                        Unliquidated
         Gibbstown, NJ 08027                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,462.21
         Moore Medical LLC / McKesson                               Contingent
         1690 New Britain Avenue                                    Unliquidated
         Farmington, CT 06032                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         MTI Dental Products                                        Contingent
         730 Airport Road
         Unit 1
                                                                    Unliquidated
         Lakewood, NJ 08701                                         Disputed
         Date(s) debt was incurred                                 Basis for the claim: For Noticing Purposes Only
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 25 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 28 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,860.30
         Myco Medical                                               Contingent
         PO Box 896578                                              Unliquidated
         Charlotte, NC 28289-6578                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $230,718.27
         NDC Inc.                                                   Contingent
         402 BNA Drive, Suite 500                                   Unliquidated
         Nashville, TN 37217                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $14,631.01
         NetSuite, Inc.
         Celigo,Inc                                                 Contingent
         Dept 0402                                                  Unliquidated
         PO Box 120402                                              Disputed
         Dallas, TX 75312-0402
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Noel's Installation LLC                                    Contingent
         5919 Summerdale Ave
         Philadelphia, PA 19149
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,642.93
         Nordent Manufacturing Inc.                                 Contingent
         610 Bonnie Lane                                            Unliquidated
         Elk Grove Village, IL 60007                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,276.71
         NSK America                                                Contingent
         1800 Global Parkway                                        Unliquidated
         Hoffman Estates, IL 60192                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $48.50
         Ortech Controls                                            Contingent
         14739 Aurora Ave N UNIT 120                                Unliquidated
         Seattle, WA 98133                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 26 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 29 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $483.99
         OrthoQuest/Plak Smacker                                    Contingent
         PO Box 734362                                              Unliquidated
         Chicago, IL 60673                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,453.60
         Pac-Dent, Inc                                              Contingent
         670 Endeavor Circle                                        Unliquidated
         Brea, CA 92821                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,973.70
         Palmero Health Care                                        Contingent
         120 Goodwin Place                                          Unliquidated
         Stratford, CT 06615-6713                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,314.04
         Parkell                                                    Contingent
         300 Executive Drive PO Box 9004                            Unliquidated
         Brentwood, NY 11717                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,869.40
         Parker Hannfin Cor / Porter Instrument                     Contingent
         7930 Collection Center Drive                               Unliquidated
         Chicago, IL 60693                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,400.00
         Parts Warehouse                                            Contingent
         309 Judson                                                 Unliquidated
         Lynden, WA 98264                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,670.70
         Pascal International, Inc                                  Contingent
         2929 NE Northup Way                                        Unliquidated
         Bellevue, WA 98004                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 27 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 30 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,836.89
         PDT Inc                                                    Contingent
         8275 Highway 10 West                                       Unliquidated
         PO Box 17980                                               Disputed
         Missoula, MT 59808
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,574.04
         Pentron /Kerr Corp.                                        Contingent
         14338 Collection Center Drive                              Unliquidated
         Chicago, IL 60693                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,202.53
         Pinnacle                                                   Contingent
         Pinnacle (Lockbox 14340)                                   Unliquidated
         540 W.Madison,4th Floor                                    Disputed
         Chicago, IL 60661
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,312.60
         PIX                                                        Contingent
         Minimax                                                    Unliquidated
         133 Wolf Road                                              Disputed
         Battleboro, NC 27809
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,000.00
         PKF O'Connor Davies,LLP                                    Contingent
         300 Tice Boulevard                                         Unliquidated
         Suite 315                                                  Disputed
         Woodcliff Lake, NJ 07677
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,311.30
         Plasdent Corporation                                       Contingent
         969 Price Street                                           Unliquidated
         Pomona, CA 91767                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Polaroid Dental Imaging                                    Contingent
         8 Jay Court
         Monsey, NY 10952
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 28 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 31 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,013.00
         Premier                                                    Contingent
         PO Box 825429                                              Unliquidated
         Philadelphia, PA 19182-5429                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,847.00
         Preventech                                                 Contingent
         PO Box 1409                                                Unliquidated
         Indian Trail, NC 28079                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,056.00
         ProEdge Dental Product                                     Contingent
         7042 S Revere Parkway, Suite 400                           Unliquidated
         Centennial, CO 80112
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Proma                                                      Contingent
         730 East Kingshill Place
         Carson, CA 90746-1392
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,585.50
         ProxySoft Worldwide,Inc                                    Contingent
         17 C Trowbridge Drive                                      Unliquidated
         Bethel, CT 06801                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,138.55
         Pulpdent Corp                                              Contingent
         P.O. BOX 780                                               Unliquidated
         Watertown, MA 02471-0780                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $87.95
         PuraGraft                                                  Contingent
         22001 Northpark Drive, Suite 700                           Unliquidated
         Kingwood, TX 77339                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 29 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 32 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $187.20
         Quality Aspirators                                         Contingent
         PO Box 382120                                              Unliquidated
         Duncanville, TX 75138                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $46,569.99
         Quality Dental                                             Contingent
         42 Rutland Road                                            Unliquidated
         Hempstead, NY 11550                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         RAY America                                                Contingent
         400 Kelby St .Ste 1500
         Fort Lee, NJ 07024
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $685.61
         Rebec                                                      Contingent
         PO Box 658                                                 Unliquidated
         Edmonds, WA 98020                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $815.26
         Replacement Parts Industries, Inc                          Contingent
         PO Box 713198                                              Unliquidated
         Chicago, IL 60677-0398                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $329.40
         Revion Solutions Incorporated                              Contingent
         184 South Livingston Ave                                   Unliquidated
         STE 9#306                                                  Disputed
         Livingston, NJ 07039
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,739.56
         Richmond Dental Company                                    Contingent
         Dept.720082                                                Unliquidated
         PO Box 1335                                                Disputed
         Charlotte, NC 28201-1335
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 30 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 33 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,176.20
         Roydent                                                    Contingent
         608 Rolling Hills Drive                                    Unliquidated
         Johnson City, TN 37604                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,373.32
         Sable Industries Inc                                       Contingent
         100 Campbell Ave., Suite 5                                 Unliquidated
         Kitchener ON N2H 4X8                                       Disputed
         CANADA
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $49,437.75
         Safe-Dent Enterprises LLC                                  Contingent
         4 Orchard Hill Drive                                       Unliquidated
         Monsey, NY 10952                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Safe-Vac                                                   Contingent
         6745 Elegante Way
         San Diego, CA 92130
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,621.11
         Sanford Levine & Sons                                      Contingent
         400 Rt 46 East                                             Unliquidated
         Fairfield, NJ 07004                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,912.81
         SDI                                                        Contingent
         1279 Hamilton Parkway                                      Unliquidated
         Itasca, IL 60143                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $54,673.71
         Septodont                                                  Contingent
         205 Granite Run Drive, Suite 150                           Unliquidated
         Lancaster, PA 17601                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 31 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 34 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $308,741.00
         Sergey Kunin                                               Contingent
         78 Weinmanns Blvd.                                         Unliquidated
         Wayne, NJ 07470                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $9.54
         Sherman Specialty Company                                  Contingent
         300 Jericho Quadrangle                                     Unliquidated
         Suite 240 West                                             Disputed
         Jericho, NY 11753
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $28,687.63
         Shofu Dental Corporation                                   Contingent
         1225 Stone Drive                                           Unliquidated
         San Marcos, CA 92078-4059                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,145.53
         Solmetex                                                   Contingent
         50 Bearfoot Road                                           Unliquidated
         Northborough, MA 01532                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,566.14
         South East Instruments, LLC                                Contingent
         Pac-Dent                                                   Unliquidated
         670 Endeavor Circle                                        Disputed
         Brea, CA 92821
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,789.35
         Southeast Medical Products, Inc                            Contingent
         5524 Commerce Dr                                           Unliquidated
         Orlando, FL 32839                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,798.95
         Spring Health Products                                     Contingent
         705 General Washington Ave, Suite 701                      Unliquidated
         Norristown, PA 19403                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 32 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 35 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         SprintRay Inc.                                             Contingent
         3577 N Figueroa St
         Los Angeles, CA 90065
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,430.00
         SS White Burs, Inc.                                        Contingent
         1145 Towbin Avenue                                         Unliquidated
         Lakewood, NJ 08701                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $763.84
         Strauss Diamond Instruments Inc.                           Contingent
         9 Florida Park Drive N.                                    Unliquidated
         Palm Coast, FL 32137                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $90.97
         Suburban Propane                                           Contingent
         PO Box J                                                   Unliquidated
         Whippany, NJ 07981-0409                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $314.90
         Summit Dental Systems                                      Contingent
         1280 SW 27 Avenue                                          Unliquidated
         Pompano Beach, FL 33069                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Suni Medical Imaging                                       Contingent
         6840 Via Del Oro, Suite 160
         San Jose, CA 95119
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $181.26
         Superior Handling Solutions                                Contingent
         PO Box 257                                                 Unliquidated
         Howell, NJ 07731-0257                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 33 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 36 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $414.50
         Superior Upholstery                                        Contingent
         2103 W Church St.                                          Unliquidated
         Orlando, FL 32805                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,671.02
         Surgical Esthetics                                         Contingent
         19355 Business Center Drive Unit #8                        Unliquidated
         Northridge, CA 91324                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,558.69
         Surgical Specialties Corporation                           Contingent
         1100 Berkshire Blvd, Suite 308                             Unliquidated
         Wyomissing, PA 19610                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $380.00
         SymplBrush                                                 Contingent
         1562 1st Ave.                                              Unliquidated
         New York, NY 10028                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,735.80
         Takara Belmont USA, Inc                                    Contingent
         PO Box 358141                                              Unliquidated
         Pittsburgh, PA 15251-5141                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $48,085.95
         TD Bank                                                    Contingent
         1701 Marlton Pike E                                        Unliquidated
         Cherry Hill, NJ 08003                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 6848
                                                                   Is the claim subject to offset?    No  Yes
3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Teal's Express, Inc.                                       Contingent
         PO Box 6010
         Watertown, NY 13601
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 34 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 37 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $641.18
         Temrex Corp.                                               Contingent
         300 Buffalo Ave                                            Unliquidated
         Freeport, NY 11520                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.210    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $641.18
         TForce Freight                                             Contingent
         28013 Network Place                                        Unliquidated
         Chicago, IL 60673-1280                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.211    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $80.00
         The Dental Repair Specialist, LLC                          Contingent
         27 Arcturus Drive                                          Unliquidated
         Sewell, NJ 08080                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,389.60
         The Hospitality Group Limited                              Contingent
         Wilmslow Road Didsbury                                     Unliquidated
         Manchester M20 5WZ                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,981.73
         Tokuyama Dental America Inc                                Contingent
         740 Garden View Court, Suite 200                           Unliquidated
         Encinitas, CA 92024                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,629.50
         TPC Advanced Technology                                    Contingent
         851 S.Lawson Street                                        Unliquidated
         City of Industry, CA 91748                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,129.77
         Tuttnauer                                                  Contingent
         PO Box 23279                                               Unliquidated
         New York, NY 10087-3279                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 35 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 38 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $14,042.20
         UDM                                                        Contingent
         608 Rolling Hills Drive                                    Unliquidated
         Johnson City, TN 37601                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,277.83
         Uline                                                      Contingent
         2200 S Lakeside Drive                                      Unliquidated
         Waukegan, IL 60085                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,770.00
         UMG Medical Imaging                                        Contingent
         28 Calvert Street                                          Unliquidated
         Harrison, NY 10528                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Unimed-Midwest, Inc                                        Contingent
         21875 Grenada Avenue
         Lakeville, MN 55044
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,950.05
         ValuMax International, Inc                                 Contingent
         848 Hausmnan Road                                          Unliquidated
         Allentown, PA 18104                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Vaniman                                                    Contingent
         140 N. Brandon Rd
         Fallbrook, CA 92028
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.222    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $145,897.00
         Vatech America Inc.                                        Contingent
         2200 Fletcher Avenue                                       Unliquidated
         Suite 705A                                                 Disputed
         Fort Lee, NJ 07024
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 36 of 38
          Case 23-21402-SLM                  Doc 26         Filed 12/12/23 Entered 12/12/23 16:18:18                                     Desc Main
                                                           Document     Page 39 of 40
Debtor      IQ Dental Supply, LLC                                                           Case number (if known)            23-21402 (SLM)
            Name

3.223    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,450.00
         Vector                                                     Contingent
         69th Ave. West University                                  Unliquidated
         Tacoma, WA 98466                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.224    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $120.00
         Vector R & D Inc.                                          Contingent
         6824 19th St. #230                                         Unliquidated
         University Place, WA 98466                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.225    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $498.84
         Velopex International, Inc.                                Contingent
         105 East 17th Street                                       Unliquidated
         Saint Cloud, FL 34769                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.226    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $125.80
         Villa Radiology Systems                                    Contingent
         199 Park Road Ext.; Suite 107                              Unliquidated
         Middlebury, CT 06762                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.227    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,644.84
         Vista Dental Products                                      Contingent
         2200 South Street                                          Unliquidated
         Racine, WI 53404                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.228    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,616.96
         VITA North America                                         Contingent
         22705 Savi Ranch Pkwy; Suite 100                           Unliquidated
         Yorba Linda, CA 92887                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.229    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,227.94
         W.B.Mason                                                  Contingent
         W.B.Mason Co., Inc                                         Unliquidated
         PO Box 981101                                              Disputed
         Boston, MA 02298-1101
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 37 of 38
          Case 23-21402-SLM                      Doc 26        Filed 12/12/23 Entered 12/12/23 16:18:18                                          Desc Main
                                                              Document     Page 40 of 40
Debtor       IQ Dental Supply, LLC                                                                  Case number (if known)            23-21402 (SLM)
             Name

3.230     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,884.47
          Water Pik, Inc                                                    Contingent
          P.O.Box 74008464                                                  Unliquidated
          Chicago, IL 60674-8464                                            Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.231     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $690.00
          Xttrium Laboratories                                              Contingent
          1200 E Business Center Dr                                         Unliquidated
          Mount Prospect, IL 60056-6041                                     Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.232     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $11,017.59
          Young Denticator                                                  Contingent
          Young Dental Manufacturing I,LLC                                  Unliquidated
          25787 Network Place                                               Disputed
          Chicago, IL 60673-1257
                                                                           Basis for the claim: Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.233     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,734.00
          Zhermack, Inc                                                     Contingent
          PO Box 4195                                                       Unliquidated
          River Edge, NJ 07661-4195                                         Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.234     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,492.59
          Zirc Dental Products                                              Contingent
          3918 Hwy 55 SE                                                    Unliquidated
          Buffalo, MN 55313                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                            0.00
5b. Total claims from Part 2                                                                           5b.    +   $                    4,712,912.24

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        4,712,912.24




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 38 of 38
